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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                     Plaintiff,
                                                                         ORDER
               v.                                                      13-CR-151-A

RYAN C. LANDER,

                                     Defendant.


       Defendant Ryan C. Lander has filed a motion for reconsideration of the

Court’s denial of the defendant Lander’s motion pursuant to Fed. R. Civ. P. 11(d) to

withdraw a guilty plea to one count of Production of Child Pornography in violation of

18 U.S.C. § 2252A(a)(5)(B). The Court scheduled an evidentiary hearing on the

defendant’s motion for reconsideration for October 9, 2018, at 9:00 a.m.

       Defendant Lander alleges that his former counsel, Barry N. Covert, Esq.:

(1) labored under an actual conflict of interest because of Mr. Covert’s personal

revulsion against the defendant and the defendant’s conduct; (2) that Mr. Covert

coerced the defendant into entering into the Plea Agreement and changing his plea

to guilty; and (3) that Mr. Covert prevented the defendant from pursuing motions to

suppress oral admissions and physical evidence that the defendant contends were

obtained because law enforcement officers questioned him without Miranda1

warnings and coerced the defendant into consenting to searches and seizures.


       1
         Miranda warnings are required to be given by law enforcement officers to ensure that
persons subjected to custodial interrogation are aware of their rights against self-incrimination
and to the advice of legal counsel. See Miranda v. Arizona, 384 U.S. 436, 487-79 (1966).
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      These allegations made by defendant Lander put in issue communications

between the defendant and Mr. Covert related to the allegations during the time

period when Mr. Covert was the defendant’s legal counsel. The allegations against

Mr. Covert therefore waive the attorney-client privilege with respect to all

communications otherwise subject to the attorney-client privilege that Mr. Covert

reasonably believes necessary to disprove the allegations. N.Y. Rules of

Professional Conduct 1.6(b)(5)(i) and 1.6(b)(6); see e.g., Aladino v. United States,

No. 09–CV–926 (CBA), 2011 WL 6131175, at *2 (E.D.N.Y. Dec. 8, 2011). The

defendant’s desire to prevent the Court from learning information that would

otherwise be subject to an attorney-client privilege is not a valid reason to disregard

the well-settled exception to the privilege authorizing disclosure by a lawyer “to

defend the lawyer or the lawyer’s employees and associates against an accusation

of wrongful conduct.” N.Y. Rules of Professional Conduct 1.6(b)(5)(i).

      SO ORDERED.

                                                Richard J. Arcara
                                         HONORABLE RICHARD J. ARCARA
                                         UNITED STATES DISTRICT COURT

Dated: August 1, 2018




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